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                              UNITED STATE DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 20-CV-14159-Rosenberg/Reinhart


  DJ LINCOLN ENTERPRISES, INC,

                      Plaintiff,
  v.

  GOOGLE, LLC,

                    Defendant.
  __________________________________________/

       REPORT AND RECOMMENDATION ON DEFENDANT’S MOTIONS
                FOR ATTORNEYS’ FEES [ECF Nos. 55, 68]

         This matter is before me on a referral from the Honorable Robin L. Rosenberg.

  ECF No. 69. Currently pending are motions by Defendant Google, LLC (“Google”)

  seeking an award of attorneys’ fees in the amount of $202,205.75, comprising

  $163,443.75 for litigation in this Court and $38,762.00 in appellate fees. I have

  reviewed the motions (ECF Nos. 55, 68), as well as the response (ECF Nos. 57, 73)

  and reply papers (ECF Nos. 63, 74). For the reasons stated below, I RECOMMEND

  that Google’s Motions for Attorneys’ Fees be GRANTED in part and DENIED in part.

                                     BACKGROUND

         On May 20, 2020, Plaintiff DJ Lincoln Enterprises, Inc. (“DJ Lincoln”) sued

  Google for (1) violation of the federal civil RICO statute 18 U.S.C. § 1962 (c); (2)

  violation of Florida’s analog civil RICO statute, Fla. Stat § 772.104(1); (3) violation of

  Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”), Fla. Stat §


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  501.203(8); and (4) torturous interference. See ECF No. 1. The Complaint alleged

  that DJ Lincoln “operated a website, https://seniorcare.care/, that connected

  caregivers and assisted living professionals with seniors and families in need.” Id. ¶5.

  It alleged that Google fraudulently harmed DJ Lincoln by having the Google search

  engine discriminate against DJ Lincoln because of DJ Lincoln’s conservative political

  views:

           Google fraudulently induced Lincoln at great cost and expense to
           conform the Senior Care website to Google’s standards, so that Lincoln
           could enjoy the benefits of Google Search. Google represented to Lincoln
           that it (Google) treated all businesses equally and that it did not
           discriminate based upon ideology or political association. Google
           fraudulently concealed from Lincoln the fact that Google intended to
           violate Lincoln’s First Amendment Rights and interfere with Lincoln’s
           business. Google put Lincoln on a “blacklist” and intentionally
           segregated Lincoln to the back of the proverbial Search bus because of
           Lincoln’s conservative views, including Lincoln’s unwavering support of
           President Trump. Google discriminated against Lincoln because Lincoln
           is owned and operated by conservative Republicans

  Id. ¶15.

           After Google filed a Motion to Dismiss but before any ruling on that Motion,

  DJ Lincoln filed an Amended Complaint. ECF Nos. 16, 19. Google moved to dismiss

  the Amended Complaint. ECF No. 21. Discovery was stayed while the motion was

  pending. ECF No. 41.

           Thereafter, Judge Rosenberg dismissed the Amended Complaint without

  prejudice. EFC No. 43. On the RICO claims, she held that DJ Lincoln had not

  plausibly alleged the existence of an enterprise and that DJ Lincoln had not plausibly

  alleged a pattern of racketeering activity, including not pleading fraud with


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  particularity as required by Fed. R. Civ. P. 9(b). On the FDUTPA Count, she held

  that the Amended Complaint did not plead sufficient facts to plausibly show unfair

  competition or unconscionable acts, nor did it allege fraud with the detail required by

  Rule 9(b). Judge Rosenberg also noted that the First Amended Complaint was a

  prohibited shotgun pleading. Id. at 16-17. She granted DJ Lincoln “one further

  opportunity to amend its Complaint.” Id. at 17.

          On January 29, 2021, DJ Lincoln filed a Second Amended Complaint. ECF 46.

  Google again moved to dismiss. ECF No. 49. On July 21, 2021, Judge Rosenberg

  granted Google’s Motion to Dismiss with prejudice. See ECF No. 52. She found that

  the Second Amended Complaint still failed to plead sufficient facts to plausibly allege

  a RICO enterprise. On the remaining counts (including the FDUTPA count), she held

  “to the extent that Plaintiff’s fraud claims rely on affirmative misrepresentations, the

  allegations in the Second Amended Complaint fail to satisfy the requirements of Rule

  9(b).   And to the extent that Plaintiff’s fraud claims rely on Defendant’s non-

  disclosure of information, the allegations in the Second Amended Complaint fail to

  demonstrate that Defendant had a duty to disclose.” Id. at 8.

          DJ Lincoln timely appealed the dismissal Order. ECF No. 53. On September

  15, 2021, Google moved to recover its trial court attorneys’ fees (“the Trial Fee

  Motion”). ECF No. 55.

          On January 24, 2022, the Eleventh Circuit affirmed the dismissal Order. ECF

  No. 64 at 2-3. The mandate issued on February 22, 2022. Id. at 1. DJ Lincoln did

  not seek further appellate review.
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        On February 28, 2022, Google moved for appellate attorneys’ fees (“the

  Appellate Fees Motion”). ECF No. 67 at 2. On March 29, 2022, the Eleventh Circuit

  transferred that motion to this Court. Id. at 1.

                               ENTITLEMENT TO FEES

        Google seeks fees pursuant to Florida Statutes § 772.104(3) and § 501.2105(1).

  As the party seeking fees, Google bears the burden of proof. See Salisbury v.

  Spielvogel, 451 So. 2d 974, 975 (Fla. Dist. Ct. App. 1984).

        Florida RICO

        A defendant who prevails on a Florida RICO claim “shall be entitled to recover

  reasonable attorney’s fees and court costs in the trial and appellate courts upon a

  finding that the claimant raised a claim which was without substantial fact or legal

  support.” Fla. Stat. §772.104(3). This Court’s interpretation of “Florida’s RICO law

  is ‘informed by case law interpreting the federal RICO statute . . . on which Chapter

  772 is patterned.’” Jackson v. Bell South Telecomm., 372 F.3d 1250, 1263 (11th Cir.

  2004) (quoting Jones v. Childers, 18 F.3d 899, 910 (11th Cir. 1994)). “[I]t is not

  necessary that the court find a ‘complete absence of a justiciable issue of either law

  or fact,” as would be required to award fees under Florida Statute §57.105. Hartford

  Ins. Co. of the Midwest v. Miller, 681 So. 2d 301, 302 (Fla. Dist. Ct. App. 1996). But,

  “a claim that is missing an essential element is, ‘by definition[,] without any factual

  evidentiary support, let alone substantial fact.’” Molinos Valle del Cibao, C. por A. v.

  Lama, 07-23066-CIV, 2008 WL 11333583, at *2 (S.D. Fla. Oct. 17, 2008) (J.

  Simonton), report and recommendation adopted, 07-23066-CIV, 2008 WL 11333585
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  (S.D. Fla. Oct. 31, 2008) (J. Ungaro) (quoting Friedman v. Lauderdale Med. Equip.

  Serv., Inc., 591 So. 2d 328, 329 (Fla. Dist. Ct. App. 1992)) (emphasis in original).

        I find Judge Torres’ decision in Colite Int'l, Inc. v. Robert L. Lipton, Inc., 05-

  60046-CIV, 2007 WL 9698300 (S.D. Fla. Mar. 13, 2007) to be particularly instructive

  and persuasive. In that case, the plaintiffs sued under the Florida RICO statute.

  They filed four amended complaints. The substantive RICO claim was dismissed

  with prejudice on a motion to dismiss the Third Amended Complaint. The RICO

  conspiracy claim was dismissed with prejudice on a motion to dismiss the Fourth

  Amended Complaint. The Fourth Amended Complaint was dismissed with prejudice

  for “(1) failing to conform to the pleading standards of Federal Rule of Civil Procedure

  8 and Southern District of Florida Local Rule 12.1 [(i.e. being a shotgun pleading)]

  and (2) failing to substantively assert claims for Federal or State RICO conspiracy,

  recision/fraudulent inducement, or common law fraud.” Id. at 2; Colite Int'l Inc. v.

  Robert L. Lipton, Inc., 05-60046-CIV, 2006 WL 8431656, at *4 (S.D. Fla. June 6, 2006)

  (J. Dimitrouleas) (order dismissing Fourth Amended Complaint).

        In finding an entitlement to fees under Section 772.104, Judge Torres noted,

  “Florida courts have consistently held that defendants are entitled to fees under

  section 772.104 where civil RICO counts were dismissed with prejudice.” Colite Int'l,

  2007 WL 9698300 at *3. He cited at least one case (Foreman v. E.F. Hutton & Co.,

  568 So. 2d 531, 532 (Fla. Dist. Ct. App. 1990)), where fees were awarded under §




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  772.104 after a dismissal with prejudice at the pleading stage. Id.1 He found it

  compelling that the plaintiff had failed to satisfy the requisite pleading standard,

  despite being given multiple chances:

         The analysis to impose fees under section 772.104 is a difficult task.
         There is very little case law guiding the Court on the meaning of
         “without substantial factual or legal support.” Marcus v. Miller, 663 So.
         2d 1340, 1342 (Fla. 4th DCA 1995). However, based on the line of cases
         awarding fees under section 772.104 when a dismissal with prejudice is
         entered, and because of the facts surrounding this matter, the
         undersigned feels that an award of fees is warranted. The fact that
         Plaintiff had numerous chances to plead a viable RICO claim and the
         fact that each amended complaint continued to offer little more than
         conclusory allegations with insufficient factual support, supports the
         determination that fees should be awarded. As such, the undersigned
         finds that the facts of this case support a determination that there was
         no substantial factual or legal support for the Florida RICO claims.

  Id. at *5.

         Similarly, in Filippova v. Mogilevsky, No. 18-80044-CIV, 2019 WL 1216150

  (S.D. Fla. Feb. 14, 2019)(J. Matthewman), report and recommendation adopted, 2019

  WL 1216205 (S.D. Fla. Mar. 7, 2019) (J. Marra), the Court dismissed a Florida RICO

  claim with prejudice at the pleading stage because it lacked sufficient factual




  1 He also cited several cases where fees were awarded after dismissal with prejudice
  at later stages of litigation. Johnson Enterprises of Jacksonville, Inc. v. FPL Group,
  Inc., 162 F.3d 1290, 1330 (11th Cir. 1998) (directed verdict at close of plaintiff’s
  case); Hartford Ins. Co. v. Miller, 681 So. 2d 301, 302 (Fla. Dist. Ct. App. 1996)
  (dismissal on motion for summary judgment); Skubal v. Cooley, 650 So. 2d 169 (Fla.
  Dist. Ct. App. 1995) (directed verdict at close of plaintiff evidence).             See
  also Ciaramello v. D'Ambria, 613 So. 2d 1324 (Fla. Dist. Ct. App. 1991) (affirming
  fees award after dismissal with prejudice, but unclear whether based solely on the
  pleadings); Marcus v. Miller, 632 So. 2d 1340, 1342–43 (Fla. Dist. Ct. App. 1995) (fees
  awarded after voluntary dismissal with prejudice).

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  allegations to establish an element of RICO. Judge Matthewman awarded fees under

  §772.104, saying, “Judge Marra dismissed the Florida RICO count with prejudice,

  which in and of itself is sufficient to satisfy the requirements of the pertinent Florida

  statute pursuant to the relevant case law. Additionally, Judge Marra found that the

  allegations as to the Florida RICO count were missing an essential element, so,

  clearly, the allegations were missing both factual and legal support.” Id. at *3.

        Here, despite being told by Judge Rosenberg how its pleading was insufficient

  and being given multiple chances to amend its complaint, DJ Lincoln failed to

  adequately plead the existence of a RICO enterprise — an essential element of a

  RICO claim. ECF No. 52 at 2. DJ Lincoln’s failure to plead all essential elements of

  a RICO claim represents a lack of both factual and legal support that I find entitles

  Google to attorneys’ fees under § 772.104.

        FDUTPA

        Under Section 501.2105(1), “the prevailing party [in a FDUTPA action], after

  judgment in the trial court and exhaustion of all appeals, if any, may receive his or

  her reasonable attorney’s fees and costs from the nonprevailing party.” Prevailing

  party fees under FDUTPA are discretionary. The Court first must determine the

  prevailing party. See Diamond Aircraft Indus., Inc. v. Horowitch, 107 So. 3d 362, 368

  (Fla. 2013). Next, all appeals must have been exhausted. See Procaps S.A. v. Patheon

  Inc., 157 F. Supp. 3d 1199, 1200 (S.D. Fla. 2016) (J. Goodman) (holding FDUTPA

  attorneys’ fees awards are not permitted until all appeals are exhausted). “Once a

  trial court has determined that a party is a prevailing party under FDUTPA, it then
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  has discretion to award attorney's fees and costs after considering various equitable

  factors, including [but not limited to]:

           (1) the scope and history of the litigation;

           (2) the ability of the opposing party to satisfy an award of fees;

           (3) whether an award of fees against the opposing party would deter
           others from acting in similar circumstances;

           (4) the merits of the respective positions—including the degree of the
           opposing party's culpability or bad faith;

           (5) whether the claim brought was not in subjective bad faith but
           frivolous, unreasonable, groundless;

           (6) whether the defense raised a defense mainly to frustrate or stall;

           (7) whether the claim brought was to resolve a significant legal question
           under FDUTPA law.

  Chow v. Chak Yam Chau, 640 Fed. Appx. 834, 838 (11th Cir. 2015) (citing Humane

  Soc. of Broward Cnty., Inc. v. Fla. Humane Soc., 951 So. 2d 966, 971–72 (Fla. Dist.

  Ct. App. 2007)). DJ Lincoln does not dispute that Google is a prevailing party or that

  its appeals have been exhausted; so, only the third factor — appropriateness of fees

  — is in dispute here.

           The first factor — the scope and history of the litigation — cuts in favor of DJ

  Lincoln. The litigation in the instant case was before the District Court for only 14

  months and was resolved at the motion to dismiss phase. There was no discovery, no

  summary judgment motions, and no trial. The dismissal order is only the 52nd docket

  entry.




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        Google cites Chow v. Chak Yam Chau, 640 F. App'x 834, 842 (11th Cir. 2015),

  to support the proposition that fees are warranted here because the “litigation ‘should

  have been simpler.’” ECF No. 55 at 9. I disagree. I do not find sufficient evidence

  that this litigation could have been simpler by the Chow standards. The facts of Chow

  and the instant case are significantly different. In Chow, the Court cited “extensive

  discovery disputes,” and “[the] extreme adversarial posture of [the] parties since . . .

  the beginning of litigation.” Chow 640 F. App’x at 843. Here, there were no discovery

  disputes because discovery was stayed.         ECF No. 41.    Google has not provided

  evidence that any “extreme adversarial postur[ing]” took place in this case. Even in

  litigation much more contentious and long running than this case, this Court has

  declined to find that the scope and history analysis weighs in favor an award of

  attorneys’ fees. See Reilly v. Chipotle Mexican Grill, Inc., No. 15-CIV-23425, 2018

  WL 1883086, at *4 (S.D. Fla. Jan. 26, 2018)(J. Torres), report and recommendation

  adopted, No. 15-CIV-23425, 2018 WL 6980714 (S.D. Fla. Sept. 12, 2018) (holding that

  even with a significant amount of motion practice and discovery issues during

  litigation, this factor was still neutral at best); Colomar v. Mercy Hosp., Inc., No. 05-

  22409-CIV-SEITZ, 2008 WL 4459383, at *2 (S.D. Fla. Sept. 29, 2008)(J. Seitz), aff'd

  in part, 335 F. App'x 29 (11th Cir. 2009) (holding that when a plaintiff aggressively

  litigated a claim for five years, neither party could be held responsible for the length

  and scope of the litigation).

        The second factor —the ability of the opposing party to satisfy an award of fees

  — also cuts in favor of DJ Lincoln. The party seeking fees must provide some evidence
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   that the non-prevailing party can pay. Reilly, 2018 WL 1883086, at *4. Here, Google

   admits to having no “actual knowledge of DJ Lincoln’s financial situation.” ECF No.

   55 at 9. Instead, Google argues DJ Lincoln can likely satisfy an award of fees because

   it admitted to operating a successful business, claimed damages of $30,000,000, and

   had the resources to retain counsel in this case. ECF No. 55 at 9. These assertions,

   without more, are insufficient to satisfy Google’s evidentiary burden. See Day v.

   Sarasota Drs. Hosp., Inc., No. 8:19-CV-1522-VMC-TGW, 2021 WL 7450526, at *5

   (M.D. Fla. Aug. 12, 2021), report and recommendation adopted, 2021 WL 7450506

   (M.D. Fla. Sept. 1, 2021) (finding incomplete financial information does not establish

   the means to satisfy a fee award).

         The next three factors — deterrence of others, the merits of the respective

   claims, and whether the FDUTPA claim brought was not frivolous, unreasonable, or

   groundless — are closely related, so I analyze them together.

         FDUTPA was passed to protect the consuming public from “those who engage

   in unfair methods of competition, deceptive, or unfair acts or practices in the conduct

   of any trade or commerce.” Humane Soc. of Broward Cnty., 951 So. 2d at 971.

   Initially, it had a mandatory fee shifting provision.      But, in 1994, the Florida

   legislature recognized that the mandatory fee shifting provision had a “chilling effect

   on consuming plaintiffs bringing suit under FDUTPA.” Id. So, the legislature

   amended the law to make fee awards the discretion of the trial court. Id.

         Google correctly argues that one purpose of FDUTPA’s fee shifting provision is

   to deter meritless lawsuits. On the other hand, the Court must be careful to avoid
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   squelching good faith litigation to vindicate FDUTPA’s purpose of protecting

   consumers. See Colomar, 2008 WL 4459383, at *4 (ruling that awarding fees to

   defendant’s charity hospital could have a chilling effect on consumer’s filing of

   FDUTPA claims).

         In assessing whether these factors support a fee award, there is a spectrum of

   cases. At one extreme would be a case brought in subjective bad faith, perhaps for

   commercial advantage or economic extortion. At the other extreme would be a case

   brought in good faith to pursue a novel legal or factual theory that is a reasonable

   extension of existing law but is ultimately rejected by the court. Fee awards should

   be imposed to deter the former case but not the latter.

         Another component of effectively deterring third parties is that they know

   about the fee award. One cannot “send a message” if that message is not heard. So,

   a fee award in a case of notoriety (even if only notorious in a particular segment of

   the economy) has more deterrent effect than in a less-well-known case

         Here, there is no evidence that DJ Lincoln brought this case in bad faith. By

   all impressions, DJ Lincoln genuinely believed that Google was discriminating based

   on its political views. DJ Lincoln pursued a novel FDUTPA theory. Ultimately, DJ

   Lincoln lacked sufficient facts to support its theory.

         Notably, Judge Rosenberg never reached the issue of whether this “political

   discrimination” FDUTPA theory was legally viable. She disposed of the FDUTPA

   claim because it failed to meet pleading standards, not because it was meritless,

   unreasonable, or groundless. ECF No. 43 at 9. See Day, 2021 WL 7450526, at *6
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   (quoting Freeman v. Cont'l Ins. Co., 996 F.2d 1116, 1120 (11th Cir. 1993) (“that

   Freeman ultimately prevailed, however, does not mean Continental’s arguments

   were insupportable or made in bad faith”) and JES Properties, Inc. v. USA

   Equestrian, Inc., 432 F. Supp. 2d 1283, 1291 (M.D. Fla. 2006) (“[T]he Court should

   avoid Monday morning quarterbacking, or after-the-fact reasoning, that the . . .

   claims must have been frivolous because plaintiff did not ultimately prevail.”)).

         Finally, there is no evidence in the record that this case has been particularly

   notorious or that a fee award for Google is likely to affect other FDUTPA litigants in

   the future. For all these reasons, I find that these factors do not weight in favor of a

   fee award.

         The next factor — whether a defense was advanced mainly to frustrate or stall

   — is not relevant because the defendant was the prevailing party. See Day, 2021 WL

   7450526, at *7 (finding this factor is only relevant when the plaintiff is the prevailing

   party).

         The final factor — whether the claim brought was to resolve a significant legal

   question under FDUTPA law — does not weigh in favor of a fee award. As noted

   above, the Court never assessed the sufficiency of DJ Lincoln’s legal theory. So, even

   if Google is correct that DJ Lincoln asserted this novel legal theory to evade pleading

   requirements (ECF No. 55 at 11), this factor applies neutrally. See Day, 2021 WL

   7450526, at *7 (“[S]imply because this lawsuit was not brought to resolve a significant

   legal matter does not support an award of attorneys’ fees against the plaintiff. It is

   fairly considered a neutral factor”); see also Healthcare Res. Mgmt. Grp., LLC v.
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   EcoNatura All Healthy World, LLC, No. 20-81501-CV, 2022 WL 1537757, at *10 (S.D.

   Fla. May 12, 2022) (J. Matthewman) (when there is no evidence a claim was brought

   to resolve a significant legal question, this factor applies neutrally).

          For all these reasons, I find that Google has not met its burden to establish

   that an award of FDUTPA attorneys’ fees is appropriate.

                                 CALCULATION OF FEES

      A. The Lodestar Method

          In calculating attorney fee awards, courts use the lodestar method, whereby a

   reasonable fee award is “properly calculated by multiplying the number of hours

   reasonably expended times a reasonable hourly rate.” ACLU of Ga. v. Barnes, 168

   F.3d 423, 427 (11th Cir. 1999) (citing Blum v. Stenson, 465 U.S. 886, 888 (1994)). This

   “lodestar” may then be adjusted for the results obtained. See Barnes, 168 F.3d at 427

   (citing Loranger v. Stierheim, 10 F.3d 776, 781 (11th Cir. 1994)). In computing the

   lodestar amount, courts should consider the so-called Johnson factors: (1) the time

   and labor required, the novelty, complexity, and difficulty of the questions involved,

   and the skill requisite to perform the legal service properly; (2) the likelihood that the

   acceptance of the particular employment will preclude other employment by the

   lawyer; (3) the fee, or rate of fee, customarily charged in the locality for legal services

   of a comparable or similar nature; (4) the significance of, or amount involved in, the

   subject   matter   of the    representation,    the   responsibility   involved in     the

   representation, and the results obtained; (5) the time limitations imposed by the

   client or by the circumstances and, as between attorney and client, any additional or
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   special time demands or requests of the attorney by the client; (6) the nature and

   length of the professional relationship with the client; (7) the experience, reputation,

   diligence, and ability of the lawyer or lawyers performing the service and the skill,

   expertise, or efficiency of effort reflected in the actual providing of such services; and

   (8) whether the fee is fixed or contingent. Wachovia Bank v. Tien, No. 04-20834, 2015

   WL 10911506, at *1 (S.D. Fla. Apr. 7, 2015) (J. Valle) (citing Johnson v. Georgia

   Highway Express, Inc., 488 F.2d 714, 717–19 (5th Cir. 1974) (listing nearly identical

   factors to consider in determining a reasonable attorney’s fee)).

         The reasonable hourly rate is defined as the “prevailing market rate in the

   relevant legal community for similar services by lawyers of reasonably comparable

   skills, experience, and reputation.” Barnes, 168 F.3d at 436 (quoting Norman v.

   Housing Auth. of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1999)). “Generally, the

   ‘relevant market’ for purposes of determining the reasonable hourly rate for an

   attorney's services is ‘the place where the case is filed . . .’” Procaps S.A. v. Patheon

   Inc., No. 12-24356-CIV, 2013 WL 6238647, at *12 (S.D. Fla. Dec. 3, 2013) (J.

   Goodman) (quoting Barnes, 168 F.3d at 427). The fee applicant bears the burden of

   establishing the claimed market rate. See Barnes, 168 F.3d at 427. If the fees

   requested are not representative of reasonable hourly rates in the place the case is

   filed, the Court has leave to reduce the fees to reflect the local market. See City Place

   Retail, L.L.C. v. Wells Fargo Bank, N.A., 18-CV-81689, 2021 WL 3361172, at *5 (S.D.

   Fla. Jan. 12, 2021) (J. Reinhart).



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         The Court must consider “what a reasonable, paying client would be willing to

   pay,” bearing in mind “all of the case-specific variables that . . . courts have identified

   as relevant to the reasonableness of attorney’s fees,” including the Johnson factors.

   Arbor Hill Concerned Citizens Neighborhood Ass'n v. County of Albany, 522 F.3d 182,

   184, 190 (2d Cir. 2008) (court must “step[] into the shoes of the reasonable, paying

   client, who wishes to pay the least amount necessary to litigate the case effectively).

   In addition, the Court may consider prior hourly rates awarded to other attorneys of

   similar experience in the community as well as the Court’s own knowledge of the rates

   charged by local practitioners. See McDonald ex rel. Prendergast v. Pension Plan of

   the NYSA-ILA Pension Trust Fund, 450 F.3d 91, 96–97 (2d Cir. 2006) (“A district court

   may also use its knowledge of the relevant market when determining the reasonable

   hourly rate.”); see also Norman, 836 F.2d at 1303 (“[t]he court . . . is itself an expert

   on the question.

         As to the type of evidence that the fee claimant should produce in support of a

   fee claim, in Barnes, the Eleventh Circuit stated,

         The fee applicant bears the burden of establishing entitlement and
         documenting the appropriate hours and hourly rates. That burden
         includes supplying the court with specific and detailed evidence from
         which the court can determine the reasonable hourly rate. Further, [ ]
         counsel should have maintained records to show the time spent on the
         different claims, and the general subject matter of the time expenditures
         ought to be set out with sufficient particularity so that the district court
         can assess the time claimed for each activity.

   168 F.3d at 427 (citations and quotations omitted).




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          In submitting a request for attorney’s fees, fee applicants are required to

   exercise “billing judgment.” Id. at 428 (quoting Hensley v. Eckerhart, 461 U.S. 424,

   434 (1983)). If fee applicants do not exercise billing judgment by excluding “excessive,

   redundant, or otherwise unnecessary” hours, which are hours “that would be

   unreasonable to bill to a client and therefore to one’s adversary irrespective of the

   skill, reputation or experience of counsel,” the court must exercise billing judgment for

   them. See Barnes, 168 F.3d at 428 (quoting Norman, 836 F.2d at 1301 (emphasis in

   original)).

      B. Reasonable Hourly Rates

          Google seeks reimbursement for the time of six timekeepers from two law

   firms. A review of the biographies accompanying the motion provides the following

   information to assist the Court in assessing the reasonableness of the rates charged.

          Mr. Willen is a partner at Wilson Sonsini Goodrich & Rosati, P.C. (“WSGR”) in

   New York City. With twenty years of experience, he is an accomplished litigator in

   the technology industry working with some of the largest technology companies in

   the world. ECF No. 55-2 at 1-2. He seeks an hourly rate of $1,030 for his appellate

   work on this matter and $760 for his work while the matter was before the District

   Court. ECF No. 55-2 at 3.

          Ms. White is also a partner at WSGR with ten years of experience. Ms. White

   has served as lead counsel for both Google and YouTube on a number of high stakes

   matters. Id. at 4. She has secured victories on a wide array of complex issues ranging



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   from the Communications Decency Act to the Anti-terrorism Act. Id. at 3–4. She

   seeks an hourly rate of $750. Id. at 3.

           Mr. Zbrozek was an associate at WSGR’s New York Office where he specialized

   in internet law and strategy.2 Mr. Zbrozek has been practicing since he graduated

   from Columbia School of Law in 2015. Id. at 4. He is requesting an hourly rate of

   $640. Id. at 3.

           Mr. Powell is also an associate at WSGR. After graduating from law school in

   2018, but before joining WSGR, Mr. Powell clerked for the honorable Gerald B. Tjoflat

   on the Eleventh Circuit Court of Appeals. ECF No. 67 at 4. Mr. Powell seeks an

   hourly rate of $685. Id. at 3.

           Ms. Nelson is an associate in the internet litigation strategy group at WSGR;

   she graduated from law school in 2019. ECF No. 67 at 4. Ms. Nelson seeks an hourly

   rate of $590. Id. at 3.

           Mr. Berman is a partner at Zuckerman Spaeder LLP in Tampa, Florida. Mr.

   Berman has been practicing law for twenty-two years with a wide array of practice

   areas from corporate civil cases to individual criminal cases. ECF No. 55-1 at 2. Mr.

   Berman seeks an hourly rate of $467.50. Id.

           Google argues that its attorneys’ hourly rates “are consistent with the legal

   market in the Southern District of Florida.” ECF No. 55 at 16 (citing Domond v.

   PeopleNetwork APS, 750 Fed Appx. 844, 848 (11th Cir. 2018). Google may be right,




   2   Mr. Zborzek left WSGR in January of 2021. ECF No. 52 at 15.
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   but the entire Southern District of Florida is not the correct measuring stick. As I

   found last year, Palm Beach County comprises a distinct legal market for purposes of

   attorneys’ fee awards. CityPlace Retail, L.L.C. v. Wells Fargo Bank, N.A., 18-CV-

   81689, 2021 WL 3361172, at *5 (S.D. Fla. Jan. 12, 2021).3

         Defendant cites four cases to support the argument that the requested rates

   are reasonable: Domond; Marjam Supply Co of Florida v. Pliteq, Inc., No. 1:15-cv-

   24363, 2021 WL 1200422, *17-18 (S.D. Fla. Mar. 5, 2021)(J. Becerra); Roche

   Diagnostic Corp v. Surplus Diabetics, Inc., No. 19-cv-61469-Ruiz/Strauss, 2020 WL

   8082367, *7 (S.D. Fla. July 6, 2020)(J. Strauss); and Kleinman v. Wright, No. 18-

   80176-cv-Bloom/Reinhart, 2020 WL 1980601, *3 (S.D. Fla. Mar. 17, 2020)(J.

   Reinhart). Only Kleinman was litigated in Palm Beach County. In that case, I

   awarded fees of between $300 and $675 to litigators from Boies Schiller Flexner, LLP,

   a nationally-recognized firm. See also CityPlace, 2012 WL 3361172 at *5-6 (awarding

   same rates to lawyers from other national firms).

         I recognize that rates for legal services have increased in the last year and a

   half since my opinion in City Place. Nevertheless, Google seeks hourly rates of $685

   for an associate with three years of experience, $650 for an associate with six years

   of experience, and $590 for an associate who has been practicing for less than two

   years. These rates are excessive by current Palm Beach County standards.




   3Domond is distinguishable, in any event. The case was litigated before Judge
   Moreno in Miami. The fee award was based on Miami rates.
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         In addition to requesting rates that are unreasonably high in comparison with

   similarly qualified lawyers in Palm Beach County, Google fails to justify these

   rates by showing a lack of attorneys in Palm Beach County willing to handle this

   matter. Barnes, 168 F.3d at 437 (citing Cullens v. Georgia Dep’t. of Transp., 29 F.3d

   1489, 1494 (11th Cir. 1994) (“If a fee applicant desires to recover the non-local rates

   of an attorney who is not from the place in which the case was filed, he must show a

   lack of attorneys practicing in that place who are willing and able to handle his

   claims.”). Without detracting from the quality of Google’s counsel’s work, this case

   was not unduly complicated. It involved straight-forward claims under RICO and

   FDUTPA. I am personally familiar with multiple Palm Beach County litigators who

   could have (and would have) handled this case just as well for the rates that I am

   awarding.

         Taking into account the professional biographies submitted in support of

   Google’s fee motions, the parties’ arguments, and applying my own experience and

   knowledge, I will award the following hourly rates, which I find to be reasonable:

         Mr. Willen: $7604

         Ms. White: $625

         Mr. Zbrozek: $550

         Mr. Powell: $400


   4 Google requests an hourly rate of $1,030 for Mr. Willen’s appellate work. It has not
   explained why this rate is reasonable, nor has it submitted any relevant comparators.
   Therefore, it has not met its burden of justifying this rate. I will award $760 per hour
   for all of Mr. Willen’s work.
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         Ms. Nelson: $375

         Mr. Berman: $467.50

         Reasonable Hours

         1. Block Billing

         First, there are numerous instances of block billing in the invoices submitted,

   which is the “disfavored practice of including multiple distinct tasks within the same

   time entry without specifying the amount of time spent on each task.” Bank v. Tien,

   No. 04-CV-20834, 2015 WL 10911507, at *4 (S.D. Fla. Sept. 29, 2015) (J. Valle) (citing

   Dial HD, Inc. v. ClearOne Commc'ns, Inc., 536 Fed. Appx. 927, 931 (11th Cir. 2013)).

   This practice prevents the Court from assessing the time spent on each discrete task

   and thus, the reasonableness of the fees sought. By way of example, Ms. White’s June

   29, 2020, entry contains five distinct tasks lumped together totaling 5.3 hours.

         Review scheduling order and confer re case strategy in response to same;
         review case management order; review and revise motion to dismiss;
         confer re strategy for drafting motion to stay discovery; review and
         revise draft motion to stay discovery

   ECF No. 55-2 at 11. Ms. White is not the only attorney timekeeper whose entries are

   blocked billed. On November 17, 2020, Mr. Zbrozek billed 5.5 hours for six tasks as

   described in a single time entry:

         Conference with internal team re matter status and next steps;
         conference with client and L. White re interrogatory responses; revise
         same; review analysis of ranking data; communicate with S. Browder re
         same; revise offensive discovery requests

   Id. at 22. On June 4, 2020, Mr. Willen’s billed 3.9 hours for three tasks as described

   in a single time entry:
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          Further research/analysis of complaint; draft pitch/analysis for client;
          discuss case strategy with WSGR team

   Id. at 8.

          Google argues that DJ Lincoln’s Response violates Local Rule 7.3 because it

   fails to allege specific instances of block billing. ECF No. 63 at 10. I find this

   argument unpersuasive. As I noted in Kleiman, a party’s non-compliance with Local

   Rule 7.3 is not fatal, especially where no prejudice is alleged. Kleiman, 2020 WL

   1980601, at n. 5 (quoting Kowalski v. Jackson Nat. Life Ins. Co., No. 12-60597-CIV,

   2014 WL 4101567, at *4 (S.D. Fla. Aug. 20, 2014) (J. Cohn)). Google has not alleged

   any prejudice stemming from DJ Lincoln’s non-compliance, so I will consider DJ

   Lincoln’s argument regarding block billing.5

          Although I do not doubt that Google’s attorneys worked in good faith

   throughout the entirety of this case, “the Court must be able to verify the need or

   relatedness of those projects before it can approve payment for the time incurred.”

   See TYR Tactical, LLC v. Productive Prod. Enter., LLC, No. 15-CIV-61741, 2018 WL

   3110799, at *11 (S.D. Fla. Apr. 11, 2018), report and recommendation adopted sub

   nom. TYR Tactical, LLC v. Protective Prod. Enterprises, LLC, No. 15-CV-61741, 2018

   WL 3109624 (S.D. Fla. Apr. 30, 2018), amended, No. 15-CV-61741, 2018 WL 2672391

   (S.D. Fla. June 5, 2018)(J. Valle) (citing Hermosilla v. Coca-Cola Co., No. 10-21418-

   CIV, 2011 WL 9364952, at *15 (S.D. Fla. July 15, 2011) (J. Torres)); Gundlach v.



   5Likewise, I reject Google’s contention that DJ Lincoln’s violation of Local Rule 7.3(a)
   and (b) automatically entitles Google to recover all of its fees. ECF No. 63 at 1-4.

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   NAACP, Inc., No. 303-CV-1003J32-MCR, 2005 WL 2012738, at*4 (M.D. Fla. Aug. 16,

   2005) (reducing the fee amount by an appropriate percentage due to block billing).

   Counsel's practice of block billing, however, makes it impossible for this Court to

   ascertain how much time was spent on each task. Accordingly, a fee reduction is

   appropriate.

         2. Redactions

         DJ Lincoln also contends that many of the entries are so heavily redacted that

   this Court cannot accurately determine whether the time is compensable. ECF No.

   57 at 11. Google does not respond to this argument. It is true that a Court may deduct

   hours from the time billed if it finds that the billing entries are so heavily redacted

   that it cannot discern the legal services provided. Meyrowitz v. Brendel, No. 16-

   81793-CV, 2018 WL 4440492, at *6 (S.D. Fla. Sept. 17, 2018) (J. Matthewman) (citing

   Tiara Condo. Ass'n, Inc. v. Marsh USA, Inc., 697 F. Supp. 2d 1349, 1367 (S.D. Fla.

   2010)(J. Hurley)). However, like the Court in Meyrowitz, I do not find that the time

   entries in this case are unacceptably vague or too heavily redacted as to warrant a

   deduction.     A review of the work log shows some entries that do contain some

   redaction; however, I find these redactions to be in keeping with Local Rule 7.3(a)

   and do not find the redaction to be so pervasive as to impede any meaningful review.

   Thus, I do not find it appropriate to deduct those hours from the total time billed.




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         3. Duplicative Billing

         DJ Lincoln argues in their Response that Google’s attorneys engaged in

   significant duplicative or redundant billing. ECF No. 57 at 11–12. Again, Google

   relies on DJ Lincoln’s non-compliance with Local Rule 7.3, namely, its failure to cite

   specific instances of duplicative billing. ECF No. 63 at 10. I reject this argument for

   the reasons set forth above. Supra at 22. While the DJ Lincoln does not offer specific

   entries demonstrating duplicative billing, I agree that there are enough instances of

   multiple attorneys working on the same issue to justify a reduction in hours.

         The invoices reveal several conference calls where all of the attorneys on the

   call bill for their time. See e.g., ECF No. 55-2 at 8–9; ECF No. 55-1 at 6 (Ms. White,

   Mr. Willen, Mr. Berman and Mr. Zbrozek all billed for time spent on a June 10, 2020

   call); ECF No. 55-2 at 10 (Ms. White, Mr. Willen, and Mr. Zbrozek all billed for their

   time on a June 15, 2020 call); id. (Ms. White, Mr. Willen, and Mr. Zbrozek all billed for

   their time on a June 17, 2020 call); id. (Ms. White, Mr. Willen, and Mr. Zbrozek all

   billed for their time on a June 26, 2020 call); id. at 11; ECF 55-1 at 9 (Ms. White, Mr.

   Willen, Mr. Berman and Mr. Zbrozek all billed for time spent on a July 1, 2020 call).

         I am mindful that legal teams will spend some time discussing a case over

   conference calls, however, Google has not justified the extensive duplication of

   charges here. “While there is nothing inherently unreasonable about a client relying

   on multiple attorneys, the fee applicant must establish that the time spent reflects

   the distinct contribution of each lawyer to the case and is the customary practice of

   multiple lawyer litigation.” Katz v. Chevaldina, 127 F. Supp. 3d 1285, 1304 (S.D. Fla.
                                             23
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   2015) (J. King) (citing Barnes, 168 F.3d at 432). “When more than one attorney

   represents a party, a court must deduct from the fee award any ‘redundant hours.’”

   Vazquez v. 1052 LLC, No. 15-22677-Civ, 2016 WL 541432, *3 (S.D. Fla. Feb. 11, 2016)

   (J. Cooke).   Redundant hours “generally occur where more than one attorney

   represents a client.” Norman, 836 F.2d at 1301–02. When a fee applicant seeks to

   recover fees for the work of multiple attorneys, the fee applicant must show that the

   attorneys “are not unreasonably doing the same work and are being compensated for

   the distinct contribution of each lawyer.” Id. at 1302; Barnes, 168 F.3d at 432. Google

   has not made this showing. Accordingly, a reduction in hours in necessary.

         Duplicative billing also occurred when counsel prepared Google’s first Motion

   to Dismiss. On June 18, 2020, Mr. Zbrozek, an associate, began drafting the Motion

   to Dismiss the Complaint as the principal drafter. ECF No. 55-2 at 10. Thereafter,

   on June 24, 2020, two partners, Mr. Willen and Ms. White, spent a combined 3.4

   hours reviewing Mr. Zbrozek’s work and conducting their own “legal research re

   MTD.” Id. at 10. On June 5, 2020, the same two partners spent a combined 5.3 hours

   “editing,” “reviewing,” and “revising” Mr. Zbrozek’s Motion to Dismiss draft. Id. On

   June 26, 2020, Mr. Willen and Ms. White both spent time reviewing and revising the

   Motion to Dismiss Draft. Id. On June 30, 2020, after Mr. Willen and Ms. White spent

   over three hours reviewing the Motion to Dismiss, Mr. Zbrozek spent 3.8 more hours

   editing it. Id. On July 1, 2020, Mr. Willen and Ms. White spent a combined six hours

   reviewing Mr. Zbrozek’s latest draft. Id. In the five days leading up to the filing of



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   the Motion to Dismiss, the partners spent at least three more hours revising the

   Motion to Dismiss. Id. at 11–12.

         I agree that the work product of associates needs to be reviewed by partners,

   but this review process was more than is required to ensure Mr. Zbrozek’s work

   product met the partners’ standards. Experienced, partner-level lawyers should not

   be awarded their top rates for performing work that could have been completed by

   one partner in far less time.6 Additionally, throughout his work log, Mr. Willen

   indicates that he conducted “legal research RE MTD.” See ECF No. 55-2 at 10. Mr.

   Zbrozek, an attorney practicing law since 2015, was more than capable of conducting

   the legal research for the Motion to Dismiss without the help of a lawyer billing at an

   hourly rate of $760. Accordingly, I find that a reduction in hours is warranted. See

   Plummer v. Chemical Bank, 592 F. Supp. 1168, 1172 (S.D.N.Y. 1984) (“A

   Michelangelo should not charge Sistine Chapel rates for painting a farmer's barn.”);

   Ursic v. Bethlehem Mines, 719 F.2d 670, 677 (3d Cir. 1983) (disapproving of failure to

   delegate routine tasks to associates or administrative staff).




   6     [I]t is certainly not unusual ... for law firms to assign a team of attorneys
         ... [b]ut when multiple attorneys are involved in representing one client
         in litigation, there is always the risk of inherent inefficiencies ... While
         [defendant] is certainly free to pay its own attorneys full rack rates for
         a full-court press litigation effort, “courts are not authorized to be
         generous with the money of others ...”

   Procaps S.A., 2013 WL 6238647, *16 (quoting Barnes, 168 F.3d at 428).
                                         25
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         4. Time Spent on Appellate Work

         DJ Lincoln argues that the time Google’s attorneys spent on the appeal is

   “patently excessive and unreasonable.” ECF No. 73. However, based upon my own

   review of the work logs, I do not find instances of duplicative billing, lack of

   delegation, excessive redactions, or block billing. Nevertheless, I will accept Google’s

   50% reduction in the hours it seeks to recover on the appeal and applying the reduced

   hourly rates set forth above, I find that Google is entitled to recover $27.380.00 in

   attorneys’ fees for defending against DJ Lincoln’s appeal. I have calculated the

   recoverable amount of attorneys’ fees for the appeal as:

     Attorney           Reduced Hours            Reduced            Total
                                                Hourly Rate
     Mr. Willen         50% of 24.8 = 12.4           $760.00                   $9,424.00

     Mr. Berman         50% of 20.4 = 10.2            $467.50                  $4,768.50

     Mr. Powell         50% of 17 = 8.5               $400.00                  $3,400.00

     Mr. Nelson         50% of 52.2 = 26.1            $375.00                  $9,787.50




         Allocation of fees

         Because I have found that Google is entitled to fees only under the Florida

   RICO statute, I must consider whether the lodestar should be reduced to reflect work

   not allocated to defending the RICO claim.

         “Where ... ‘a party is entitled to an award of fees for only some of the
         claims involved in the litigation, i.e., because a statute or contract
         authorizes fees for a particular claim but not others, the trial court must
         evaluate the relationship between the claims’ to determine the scope of
         the fee award.” Durden v. Citicorp Tr. Bank, FSB, 763 F. Supp. 2d 1299,
                                             26
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         1306–07 (M.D. Fla. 2011) (quoting Chodorow v. Moore, 947 So.2d 577,
         579 (Fla. 4th DCA 2007)). If “the claims involve a ‘common core’ of facts
         and are based on ‘related legal theories,’ a full fee may be awarded unless
         it can be shown that the attorneys spent a separate and distinct amount
         of time on counts as to which no attorney's fees were sought [or were
         authorized].” Id. (quotation and internal quotation marks omitted)
         (alteration in Chodorow); see also United States v. Jones, 125 F.3d 1418,
         1430 (11th Cir. 1997).

         “[W]here a particular claim is subject to a fee entitlement but one or
         more related claims are not, ‘time spent marshaling the facts’ of the
         related claims is compensable because it ‘likely would have been spent
         defending any one or all of the counts.’” Durden, 763 F.Supp. 3d 1306
         (citing Caplan v. 1616 E. Sunrise Motors, Inc., 522 So.2d 920, 922 (Fla.
         3d DCA 1988)). “In contrast, time spent researching a ‘discrete issue’ as
         to a claim without a fee entitlement should not be included in a fee
         award.” Id. at 1306-1307. When the facts and claims are closely related,
         courts are not required to parse counsel's time. Brown Jordan Int'l, Inc.
         v. Carmicle, No. 14-60629-CV, 2017 WL 5633312, at *4 (S.D. Fla. Aug.
         7, 2017), report and recommendation adopted, No. 0:14-CV-60629, 2017
         WL 5632811 (S.D. Fla. Aug. 22, 2017).

   Filippova, 2019 WL 1216150, at *6 (all emphasis and brackets in original).

         Here, the same underlying facts were incorporated into both the RICO and

   FDUTPA claims. But, the dismissal of the RICO claim was based on the failure to

   plead an essential element of that claim, which was independent of the inadequacies

   in the FDUTPA claim.

         Counsel’s time records do not specifically detail how much time was spent

   briefing specific issues. Thus, an adjustment to the lodestar is warranted because

   Google is only entitled to attorneys’ fees for defending the Florida RICO claim. Google

   seems to acknowledge that this reduction is warranted, given its offer to reduce the

   time for which it seeks recovery by 50%. I find that an additional 10% reduction is

   appropriate given the instances of excessive billing as described above. Applying the

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   reduced hourly rates set forth above to 40% of the hours submitted by Google’s

   attorneys for the proceedings in this Court, I calculate the recoverable fees as:

     Attorney           Reduced Hours           Reduced             Total
                                               Hourly Rate
     Mr. Willen         40% of 126.2 = 50.5           $760.00                 $38,380.00

     Ms. White          40% of 106.9 = 42.8             $625.00               $26,750.00

     Mr. Berman         40% of 42.2 = 16.9              $467.50                $7,900.75

     Mr. Zbrozek        40% of 204.8 = 81.9             $550.00               $45,045.00



   Considering all the relevant factors, I find that the reduced hourly rates and an

   across-the-board 60% reduction to the number of hours is proper and recommend that

   Google be awarded $118,075.75 pursuant to Florida Statute 772.104(3), in attorneys’

   fees for the work performed during this Court’s proceedings.



                                  RECOMMENDATION

         Based on the foregoing, I RECOMMEND that Google’s Motions for Attorneys

   Fees (ECF No. 55, 68) be GRANTED IN PART AND DENIED IN PART in that

   Google should recover $118,075.75 in attorneys’ fees for proceedings in this Court and

   $27.380.00 in appellate attorneys’ fees for a total attorneys’ fee award of $145,455.75.



                               NOTICE OF RIGHT TO OBJECT

         A party shall serve and file written objections, if any, to this Report and

   Recommendation with the Honorable Robin Rosenberg, United States District Court
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   Judge for the Southern District of Florida, within FOURTEEN (14) DAYS of being

   served with a copy of this Report and Recommendation. Failure to timely file

   objections shall constitute a waiver of a party's "right to challenge on appeal the

   district court’s order based on unobjected-to factual and legal conclusions." 11th Cir.

   R. 3-1 (2019).

         If counsel do not intend to file objections, they shall file a notice

   advising the District Court within FIVE DAYS of this Report and

   Recommendation.

         DONE AND SUBMITTED in Chambers this 27th day of July, 2022 at West

   Palm Beach in the Southern District of Florida.




                                           _____________________________
                                           BRUCE REINHART
                                           UNITED STATES MAGISTRATE JUDGE




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